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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                  LAFAYETTE DIVISION


TAYLOR JONES                                           CASE NO. 6:22-CV-00565

VERSUS                                                 CHIEF JUDGE S. MAURICE HICKS, JR.

CITY OF BROUSSARD                                      MAGISTRATE JUDGE CAROL B.
                                                       WHITEHURST


                                     REMOVAL ORDER

       Considering the removal of this action, formerly Case No. 2021-5323, 15th Judicial District
Court, Parish of Lafayette, under 28 U.S.C. 1447(b) and the obligation of this Court to proceed
with the litigation, it is necessary that the Court have a complete record of all proceedings in the
State Court as well as an opportunity to consider those matters not previously ruled upon by the
State Court, and accordingly,

       IT IS ORDERED that:

       (1)     Within thirty (30) days the party who removed this action shall electronically file
               with the Clerk of Court:

               (a)     a list of all attorneys involved in the case and the parties they represent,

               (b)     copies or electronic images of all records and proceedings occurring in the
                       State Court prior to removal, arranged by order of filing date,

               (c)     a list of all documents included in the State Court record, arranged by
                       order of filing date,

               (d)     a certificate by counsel that the above constitutes the entire State Court
                       record.

               NOTE: If (a), (b), (c) and (d) above have already been filed, duplicates are
               unnecessary.

       (2)     If motions or exceptions were pending in State Court at the time of removal, such
               motions or exceptions must be refiled in proper form and in accordance with LR 7.
               Counsel may adopt by reference a brief or memorandum previously filed in State
               Court. Failure to refile these motions or exceptions will constitute their
               abandonment as if they were never filed.
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       (3)    If funds are being held by the State Court for benefit of the litigants, counsel for the
              removing defendant is directed to make arrangements to have such funds paid into
              the registry of this Court. Please note that this only applies to what is commonly
              known as “registry funds.” Funds on deposit with the State Court to cover accrued
              costs should not be transferred to Federal Court.

        IT IS FURTHER ORDERED that any attorney appearing as counsel of record in this action
who is not presently admitted to practice before the United States District Court for the Western
District of Louisiana exercise one of the following options within twenty (20) days:

       (1)    File an Application to Practice in this Court;

       (2)    File a Motion for Admission Pro Hac Vice pursuant to Local Rule 83.2.6; or

       (3)    Secure substitute counsel admitted to practice in this court for the party presently
              being represented.


       THUS DONE in Chambers on this _________ day of ________________, 2022.




                                                                Carol B. Whitehurst
                                                           United States Magistrate Judge




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